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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

EVERLY HATFIELD,

Defendant.                                                No. 08-30020-DRH




                                     ORDER



HERNDON, Chief Judge:



             Before the Court is Defendant Everly Hatfield’s Motion for Extension of

Time for Filing Objections to Revised Presentence Investigation Report (Doc. 300).

Specifically, Defendant Everly Hatfield seeks up to and including August 30, 2010

in which to file supplemental objections to the Third Revised PSR as the drug

quantity calculations in the PSR are complicated and Defendant’s attorney has not

had adequate time to review the calculations. Based on the reasons in the motion,

the Court GRANTS Defendant Everly Hatfield’s motion for extension of time for filing

objections to revised presentence investigation report (Doc. 300). Defendant Everly

Hatfield will have up to and including August 30, 2010 in which to file objections
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to the Third Revised PSR.

            IT IS SO ORDERED.

            Signed this 25th day of August, 2010.



                                           /s/      DavidRHerndon
                                           Chief Judge
                                           United States District Court




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